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                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

GREAT AMERICAN INSURANCE                   : Case No.: 1:18-CV-00008
COMPANY
                                           : Judge: Michael A. Barrett
       Plaintiff,
                                           :
v.
                                           :
FARMERS ALLIANCE MUTUAL
INSURANCE COMPANY.                         :

       Defendant.                          :


       JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       The above-referenced matter having been fully compromised and settled, Plaintiff, Great

American Insurance Company, and Defendant, Farmers Alliance Mutual Insurance Company,

hereby stipulate and agree, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), to the

voluntary dismissal with prejudice of all claims in this matter, consistent with the terms of the

Settlement Agreement entered into between the parties, with each party to bear its own costs and

attorneys’ fees.

Date: July 24, 2018                                 Respectfully submitted,

/s/ Rachael A. Rowe                                 /s/ David P. Kamp (Per 7/24/18 Email Approval)
Rachael A. Rowe (OH 0066823)                        David P. Kamp (OH 0020665)
Darcy A. Watt (OH 0092777)                          Jean Geoppinger McCoy (OH 0046881)
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Counsel for Plaintiff, Great                        Counsel for Defendant, Farmers Alliance
American Insurance Company                          Mutual Insurance Company
      Case: 1:18-cv-00008-MRB Doc #: 9 Filed: 07/24/18 Page: 2 of 2 PAGEID #: 44



                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Joint Stipulation of Voluntary Dismissal
With Prejudice was filed with the Court utilizing the CM/ECF system, which electronically
sends notice to all parties of record, including counsel for Defendant: David P. Kamp and
Jean Geoppinger McCoy, 1700 Fourth & Vine Tower, One West Fourth Street, Cincinnati, Ohio
45202, this 24th day of July, 2018.


                                          /s/ Rachael A. Rowe
                                          Rachael A. Rowe (OH 0066823)




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